    Case: 1:19-cr-00780 Document #: 154 Filed: 07/12/21 Page 1 of 7 PageID #:1013




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )           No. 19 CR 780-1, 2, 3
        v.                                            )
                                                      )           Judge Sara L. Ellis
DORA KUZELKA, KENNETH KUZELKA,                        )
and KARI KUZELKA,                                     )
                                                      )
                Defendants.                           )

                                       OPINION AND ORDER

        On December 18, 2019, the government charged Defendants Dora Kuzelka, Kenneth

Kuzelka, Kari Kuzelka, Keith Kuzelka, and Sergio Badani in a twelve-count indictment with

alien harboring and a pattern and practice of unlawful employment of aliens at the Kuzelkas’

family-owned business, KSO Metalfab, Incorporated (“KSO”). 1 Kenneth, joined by Dora and

Kari, now seek to suppress evidence from a thumb drive that Keith produced to law enforcement

on December 19, 2018, as well as any information the government learned as a result of the

search of the thumb drive. Because Keith had actual, or at least apparent, authority to consent to

law enforcement’s search and use of the documents provided in the thumb drive, the search did

not violate the Fourth Amendment. The Court therefore denies the motion to suppress.

                                           BACKGROUND 2

        KSO is a metal fabrication business located in Streamwood, Illinois and owned primarily

by five members of the Kuzelka family, including Dora, Kenneth, Kari, and Keith. Keith

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  The Court will refer to the Kuzelka co-defendants by their first names individually and collectively as
the Kuzelkas. Keith has pleaded guilty to Count 12 of the indictment and awaits sentencing. Badani
pleaded guilty to Count 1 of the indictment, and the Court sentenced him to a two-year term of probation.
2
  The Court draws the background section from the criminal complaint, search warrant affidavit,
indictment, and the parties’ briefs. Kenneth, Dora, and Kari failed to file a reply to the government’s
response, which the Court treats as a concession that the facts contained in the government’s brief are true
for the purpose of resolving the motion to suppress.
   Case: 1:19-cr-00780 Document #: 154 Filed: 07/12/21 Page 2 of 7 PageID #:1014




worked for KSO in a full-time role from 2010 until September 19, 2018 as both an owner and a

sales manager. He also assisted in certain human resources functions, with responsibility for

filing hourly employment paperwork. On the day of his termination, KSO terminated Keith’s

access to the KSO network and building, with Keith allowed only to return to the building once

to retrieve personal items. Keith did not access the KSO server after his termination on

September 19, 2018, and he returned his KSO computer to the company as requested. He did

retain hard copy and electronic KSO documents he had had at home, however, because KSO did

not request that he return these. Despite his termination in September 2018, Keith remains a

part-owner of KSO.

       Several years before Keith’s termination, on or about May 21, 2015, Homeland Security

Investigations (“HSI”) received an anonymous tip that KSO was employing approximately forty

undocumented workers. Based on that tip, an HSI investigator conducted a civil audit of KSO in

2017, which uncovered that KSO employed thirty-six undocumented workers using suspect

fraudulent work authorization documents. HSI notified the Kuzelkas of the findings on

September 6, 2017 by serving a Notice of Suspect Documents that listed each of the thirty-six

KSO employees who used suspected fraudulent documents. On September 14, 2017, the

Kuzelkas responded in a letter, signed by Dora, reporting that they had terminated all of the

identified employees. In spring 2018, KSO agreed to pay a civil fine and to cease and desist

from further violations, with Keith signing the settlement agreement on KSO’s behalf. But from

May 2017 to October 2019, KSO hired back approximately seventeen of the undocumented

workers through a temporary staffing company located in Chicago, with help from Badani, the

staffing company’s vice president of operations. The Kuzelkas all knew of and participated in

the rehiring of the undocumented workers.



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   Case: 1:19-cr-00780 Document #: 154 Filed: 07/12/21 Page 3 of 7 PageID #:1015




         After his termination, in December 2018, Keith contacted law enforcement to alert them

to the reemployment of the previously identified undocumented workers at KSO. He met with

HSI Special Agent Ryan Ribner on December 7, 2018 and provided Ribner with additional

information. Twelve days later, Keith provided Ribner with a thumb drive that contained

documents from KSO. The documents included KSO time sheets, payroll calculations, and

hourly reports. HSI then sent the thumb drive to a forensic examiner who downloaded the

contents of the drive for investigators to examine.

         Nearly a year later, on October 11, 2019, HSI obtained a search warrant for KSO’s office.

HSI based the request for the search warrant in part on the information contained on the thumb

drive that Keith turned over to the government, which HSI had reviewed against KSO’s

employee records. Based on the information Keith provided, investigators also subpoenaed KSO

bank statements, thereby matching those statements with the documents contained on the thumb

drive.

                                           ANALYSIS

         Kenneth, Dora, and Kari argue that Keith had no authority to hand over materials to the

government and consent to the search of those materials; thus, the search violated the Fourth

Amendment and invaded the Kuzelkas’ privacy. The government contends that Keith lawfully

owned and possessed the documents provided to law enforcement and thereby had actual, or at

least apparent, authority to consent to HSI’s search of the materials.

         The Fourth Amendment protects citizens against unreasonable searches and seizures.

U.S. Const. amend. IV. “A search is generally considered unreasonable unless the government

obtains a warrant issued upon probable cause.” United States v. Basinski, 226 F.3d 829, 833 (7th

Cir. 2000). A number of exceptions to this general rule exist, however. Id. Relevant here is



                                                 3
   Case: 1:19-cr-00780 Document #: 154 Filed: 07/12/21 Page 4 of 7 PageID #:1016




actual or apparent authority to consent to a search. United States v. Gevedon, 214 F.3d 807, 810

(7th Cir. 2000). “Law enforcement officers may . . . legally search without a warrant if they

obtain voluntary consent from the person whose property is to be searched or from someone with

actual or apparent authority over the premises.” Id. (citations omitted); see also United States v.

Matlock, 415 U.S. 164, 171 (1974) (“[W]hen the prosecution seeks to justify a warrantless search

by proof of voluntary consent, it is not limited to proof that consent was given by the defendant,

but may show that permission to search was obtained from a third party who possessed common

authority over or other sufficient relationship to the premises or effects sought to be inspected.”).

This legal theory arises from the concept of assumption of risk, in that, “where a defendant

allows a third party to exercise actual or apparent authority over the defendant’s property, he is

considered to have assumed the risk that the third party might permit access to others, including

government agents.” Basinski, 226 F.3d at 834; see United States v. Jacobsen, 466 U.S. 109,

117 (1984) (“It is well-settled that when an individual reveals private information to another, he

assumes the risk that his confidant will reveal that information to the authorities, and if that

occurs the Fourth Amendment does not prohibit governmental use of that information.”). Actual

authority “rests on whether there is mutual use of the property by persons generally having joint

access or control for most purposes,” United States v. Ryerson, 545 F.3d 483, 487 (7th Cir. 2008)

(citations omitted), whereas “[u]nder the apparent authority type of third-party consent, the

government must show that a reasonable person, with the same knowledge of the situation as that

possessed by the government agent to whom consent was given, would reasonably believe that

the third party had authority over [the material] to be searched [or seized],” Basinski, 226 F.3d at

834; see United States v. Groves, 470 F.3d 311, 319 (7th Cir. 2006) (“For the apparent authority

analysis, the court must consider what the officers knew at the time they sought . . . consent and



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   Case: 1:19-cr-00780 Document #: 154 Filed: 07/12/21 Page 5 of 7 PageID #:1017




whether those facts were sufficient to demonstrate that the officers reasonably, but erroneously,

believed that [the consenting person] possessed shared authority as an occupant.”).

       Here, although Keith was no longer employed by KSO in December 2018 when he met

with HSI, he remained a part-owner of KSO. And, according to the government, KSO did not

request that Keith return any documents he had in his possession after his termination, instead

only asking that he return his computer. The government also maintains that Keith did not have

access to the KSO server after his termination and so had possession of all the documents on the

thumb drive before that time. Indeed, it is telling that Kenneth, Dora, and Kari concede that “it

matters not . . . that the contents of the thumb drive had been compiled by Keith beforehand.”

Doc. 128 at 5. Thus, treating the government’s assertions as true, Keith lawfully possessed the

documents he turned over to HSI through his prior employment with KSO and his status as a

part-owner of KSO and so had actual authority to consent to the government’s search of the

thumb drive. See Ryerson, 545 F.3d at 487 (the defendant’s ex-wife had actual authority to

consent to searches, as “[t]here is no evidence that Lawicki had quit her managerial role or sold

her stake in the company before the search” meaning that “Lawicki still had a right to access the

company records kept in the basement of the house”); United States v. Koutromanos, No. 15-

CR-131, 2016 WL 1688011, at *3 (E.D. Wis. Apr. 27, 2016) (a third party had actual authority

to consent to the government’s acquisition of restaurant records because he remained a 50%

owner of the business, had signature authority over the business bank account, and controlled the

business licenses).

       Moreover, even if Keith did not have actual authority to consent to the search, it was at

least reasonable for the HSI agents to believe that Keith lawfully possessed the thumb drive and

thus had apparent authority to consent to its search. See Basinski, 226 F.3d at 834 (“[A]pparent



                                                 5
    Case: 1:19-cr-00780 Document #: 154 Filed: 07/12/21 Page 6 of 7 PageID #:1018




authority turns on the government’s knowledge of the third party’s use of, control over, and

access to the [materials] to be searched, because these characteristics are particularly probative of

whether the individual has authority over the property.”). Given their past involvement in the

civil audit of KSO, HSI knew that Keith had access to KSO’s records and remained a part-

owner. In fact, Keith met with HSI in early 2018 and signed the settlement agreement that

finalized KSO’s total fine from the audit. Moreover, Keith dealt with various human resources

responsibilities, including filing hourly employment paperwork, while employed by KSO, giving

HSI further reason to believe he had authority to possess the documents on the thumb drive.

Thus, even though KSO had terminated Keith’s employment prior to his turning over the thumb

drive, because he remained a part-owner of KSO and had direct involvement with the civil audit

of KSO, the HSI agents could reasonably believe that Keith had the authority to consent to a

search of the materials. See United States v. King, 627 F.3d 641, 648 (7th Cir. 2010) (restaurant

employee had apparent authority to consent to a search of the restaurant because his “actions

clearly justified the officers’ belief that he had full control over the premises, including the

authority to grant access to others,” even though “the officers knew that [he] was not the

owner”). Therefore, because Keith had actual, or at least apparent, authority to consent to the

search of the thumb drive, the Court cannot find a Fourth Amendment violation. 3 See United

States v. Aldridge, 642 F.3d 537, 543 (7th Cir. 2011) (“Because Rivera had authority to consent,




3
 The government also argues that Keith provided the thumb drive to the government as a private actor
and not as a government agent. Because the government’s warrantless search fits within the consent
exception to the warrant requirement, the Court need not address this issue. See Koutromanos, 2016 WL
1688011, at *2 (“[A] finding that a private party acted as a government agent does not automatically
direct suppression; it simply triggers a Fourth Amendment analysis. If the government’s warrantless
search fits within an exception to the warrant requirement, such as consent, there is no Fourth
Amendment violation.” (citations omitted)). Further, because the Court finds that Keith had at least
apparent authority to consent to the search, Walter v. United States, 447 U.S. 649 (1980), on which
Kenneth, Dora, and Kari extensively rely, has no relevance to the Court’s decision.
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   Case: 1:19-cr-00780 Document #: 154 Filed: 07/12/21 Page 7 of 7 PageID #:1019




and did consent, to the government’s acquisition of the materials, the government required no

warrant for its search.”).

                                       CONCLUSION

        For the foregoing reasons, the Court denies Kenneth, Dora, and Kari Kuzelka’s motion to

suppress [128].




Dated: July 12, 2021                                       ______________________
                                                           SARA L. ELLIS
                                                           United States District Judge




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